Case 2:04-cV-03029-.]P|\/|-de Document 5 Filed 08/31/05 Page 1 of 2 Page|D 12

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UNITED STATES DISTRICT COURT D.C.
WESTERN DISTRICT OF TENNESSEEUSAUGS| Hh: le
WESTERN DIVISION

STEVE BRIAN PHERI[ZGO,r

CLERK,{

 

JUDGMENT IN A CIVIL CASE

 

Plaintiff,
v.
FEDERAL BUREAU OF PRISONSr CASE NO: 04-3029 Ml/V
Defendant.
JUDGMENT

 

JUDGMENT BY COURT.
consideration,
rendered,

IT IS THEREFORE ORDERED, ADJUDGED,
with the Order Assessinq Filing Fee,r
Certifying Appeal Not Taken in Good Faith,

2005,

APPROVED

@MM

This action having come before the Conrt for
the issues having been considered,

and a decision

AND DECREED that, in accordance
Order of Dismissal, and Order

entered August fg|,

this CaSe is DISMISSED WITHOUT PREJUDICE.

 

P. MCCALLA

UO ITED STATES DISTRICT COURT

A,,` 6)'_.200‘3'

Date \_)

THOMASM.MD

Clerk of Court

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Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:04-CV-03029 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

Steven Brian Pherigo
FPC-i\/[[LLINGTON
28128-044

P.O. Box 2000

Millington, TN 38083--200

Honorable J on McCalla
US DISTRICT COURT

